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KENJI M. PRICE #10523
United States Attorney
District of Hawaii

RONALD G. JOHNSON #4532
Assistant U. S. Attorney
Room 6100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii   96850
Telephone: (808) 541-2850
Facsimile: (808) 541-2958
E-Mail: Ron.Johnson@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR. NO. 17-00101-01 LEK
                              )
               Plaintiff,     )           MOTION FOR JUDICIAL
                              )           DETERMINATION OF THE MENTAL
     vs.                      )           COMPETENCY OF THE ACCUSED;
                              )           DECLARATION OF RONALD G.
ANTHONY T. WILLIAMS,     (01) )           JOHNSON; EXHIBITS 1 TO 5;
                              )           CERTIFICATE OF SERVICE
               Defendant.     )
                              )

                   MOTION FOR JUDICIAL DETERMINATION
                OF THE MENTAL COMPETENCY OF THE ACCUSED

            COMES NOW, the United States Attorney, on behalf of

the plaintiff, United States of America, by and through its

undersigned counsel, and hereby moves this Court to cause the

accused, ANTHONY T. WILLIAMS, to be examined as to his mental

condition, to determine whether he is presently suffering from a

mental disease or defect rendering him mentally unable to

understand the proceedings against him or to assist properly in
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his own defense, if standby counsel has to proceed to trial.

The examination shall be conducted by at least one qualified

psychiatrist or psychologist, who shall file a report with the

Court, pursuant to Title 18, United States Code, Sections

4247(b) and (c), and to order that the accused shall be

committed for such a reasonable period as the Court may

determine, to a suitable hospital or other facility to be

designated by the Court, but not to exceed thirty days.

            This motion is made pursuant to Rule 12.2(c) of the

Federal Rules of Criminal Procedure, Title 18, United States

Code, Section 4241, and is based on the record and files of this

case as well as the Declaration of Ronald G. Johnson.

            DATED:    April 11, 2018, at Honolulu, Hawaii.

                                          Respectfully Submitted,

                                          KENJI M. PRICE
                                          United States Attorney
                                          District of Hawaii



                                          By     /s/ Ronald G. Johnson
                                               RONALD G. JOHNSON
                                               Assistant U. S. Attorney




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                          CERTIFICATE OF SERVICE

            I hereby certify that, on the dates and by the methods

of service noted below, a true and correct copy of the foregoing

was served on the following at their last known addresses:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      351 Elliott Street
      Honolulu, HI   96819

            DATED:    April 11, 2018, at Honolulu, Hawaii.



                                            /s/ Dawn Aihara
